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14

15                                 UNITED STATES DISTRICT COURT

16                            NORTHERN DISTRICT OF CALIFORNIA

17                                    SAN FRANCISCO DIVISION

18

19   WILLIAMS-SONOMA, INC.,                          Case No.: 18-cv-07548-AGT

20                    Plaintiff,                     STIPULATION AND ORDER
                                                     FOR STAY AND SUBSEQUENT
21         v.                                        DISMISSAL

22   AMAZON.COM, INC.,

23                    Defendant.

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                                                               STIPULATION AND [PROPOSED] ORDER FOR
                                                                     STAY AND SUBSEQUENT DISMISSAL
                                                                          CASE NO.: 18-CV-07548-AGT
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 1           Plaintiff Williams-Sonoma, Inc. (“WSI”) and Defendant Amazon.com, Inc. (“Amazon”)

 2   (together, the “Parties”), by and through their respective counsel hereby stipulate and agree as

 3   follows:

 4           WHEREAS, on or about December 14, 2018, WSI filed a complaint in the Northern

 5   District of California captioned Williams-Sonoma, Inc. v. Amazon.com, Inc., No. 18-cv-07548

 6   (the “Litigation”); and

 7           WHEREAS, WSI amended and supplemented its initial complaint, including most

 8   recently filing a Second Amended and Supplemental Complaint (“SASC”) on May 6, 2020; and

 9           WHEREAS, Amazon subsequently filed an Answer and Counterclaims denying all

10   liability in the action; and

11           WHEREAS, the Parties have entered into a final, binding, and signed settlement

12   agreement, one condition of which is the entry of this Stipulation and [PROPOSED] Order for

13   Stay and Subsequent Dismissal;

14           NOW THEREFORE, the Parties, by and through their counsel of record, hereby stipulate

15   and agree and request that the Court enter an order as follows:

16           1.      The Parties stipulate that they have entered into a confidential final, binding, and

17   fully executed settlement agreement and that such settlement agreement includes certain material

18   obligations of the Parties that will require time to perform.

19           2.      The Parties wish to retain the jurisdiction of the Court to aid enforcement of the

20   settlement agreement only so long as is necessary to perform certain material obligations, but

21   without incurring further costs of litigation. The Parties therefore propose a stay of the action for

22   ninety days pending such performance. Good cause exists for the stay because it is in the

23   interests of judicial efficiency to further the goal of dismissal and final resolution of the Litigation

24   without further burdening the resources of the Court in a pandemic.

25           3.      The settlement agreement is conditioned upon the entry by the Court of this

26   Stipulation and [PROPOSED] Order.

27           4.      The Parties stipulate that this case hereby is and shall be stayed in its entirety

28   effective immediately as of the date of this Stipulation, and that neither party shall take any

                                                                          STIPULATION AND [PROPOSED] ORDER FOR
                                                         1                      STAY AND SUBSEQUENT DISMISSAL
                                                                                     CASE NO.: 18-CV-07548-AGT
       Case 3:18-cv-07548-AGT Document 136 Filed 11/02/20 Page 3 of 3



 1   further action in the Litigation unless ordered by the Court.

 2          5.      Unless either party files a written objection alleging that a material obligation of

 3   the settlement agreement has been subject to a failure of performance, ninety days after the date

 4   of this stipulation WSI’s claims in the action shall be dismissed with prejudice, and Amazon’s

 5   counterclaims in the action shall be dismissed without prejudice.

 6          6.      The parties shall each bear their own attorneys’ fees and costs.

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 8   Dated: November 2, 2020                   Respectfully submitted,
                                               ORRICK, HERRINGTON & SUTCLIFFE LLP
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10                                             By:           /s/ Annette L. Hurst
11                                                          ANNETTE L. HURST
                                                            Attorneys for Plaintiff
12                                                          WILLIAMS-SONOMA, INC.
13
     Dated: November 2, 2020                   DURIE TANGRI LLP
14

15                                             By:           /s/ Joseph C. Gratz
                                                             JOSEPH C. GRATZ
16                                                           Attorneys for Defendant
                                                             AMAZON.COM, INC.
17

18
                                         Attestation of Concurrence
19
             I, Annette Hurst, attest pursuant to Local Rule 5-1(i)(3) that all other signatories to this
20   document, on whose behalf this filing is submitted, concur in the filing’s content and have
21   authorized this filing.

22   Dated: November 2, 2020                   By:                   /s/ Annette L. Hurst
                                                                     ANNETTE L. HURST
23

24

25
            IT IS SO ORDERED.
26

27           November 2, 2020
     DATED: __________                               _____________________________________
                                                        HONORABLE JUDGE ALEX G. TSE
28
                                                                         STIPULATION AND [PROPOSED] ORDER FOR
                                                       2                       STAY AND SUBSEQUENT DISMISSAL
                                                                                    CASE NO.: 18-CV-07548-AGT
